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  6
  7
  8                       UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF CALIFORNIA, DIVISION 4
  9
 10
 11 In Re:                             )               Chapter 7
                                       )
 12   ROSEMARY GREENE,                 )               Bankruptcy No. 12-49009
                                       )
 13                                    )               Date: March 7, 2018
                                       )               Time: 10:30 a.m.
 14                                    )               Room: Room 220
                       Debtor.         )
 15   ________________________________ )               HON. WILLIAM J. LAFFERTY
 16              NOTICE OF HEARING ON MOTION FOR SANCTIONS FOR
                       VIOLATION OF DISCHARGE INJUNCTION
 17
 18          Please take notice that on March 7, 2018 at 10:30 a.m., in the courtroom of The
 19 Honorable William J. Lafferty, at 1300 Clay St., Oakland California, the debtor will move
 20 the court for sanctions for violation of the discharge entered in this case.
 21          The motion will be based on the declarations, points and authorities and requests
 22 for judicial notice filed herewith.
 23                                       MORAN LAW GROUP
 24
           02/02/2018
 25 Date: ________________                /s/ Cathleen Cooper Moran
                                          _______________________________________
                                          CATHLEEN COOPER MORAN
 26                                       Attorney for Rosemary Greene
 27
 28
Case: 12-49009    Doc# 23     Filed: 02/05/18   Entered: 02/05/18 13:15:16         Page 1 of 1
